AFFIDAVIT
COMMONWEALTH OF PENNSYLVANIA _ )

) SS:
COUNTY OF WESTMORELAND )

The undersigned individual, William E. Otto, Esq., being duly sworn according to law, deposes
and says the following.

hy Iam William E. Otto, Esq., a resident of the Commonwealth of Pennsylvania.

an I am over 21 years of age.

3. Pursuant to Paragraph 2 of the Order of Court dated January 30, 2023 issued by
Judge Gregory Taddonio, Chief United States Bankruptcy Judge (the “Order”), a copy of the
state court docket in Westmoreland County Court of Common Pleas Case No. 2017-4886,
Christine Biros v. U Lock, Inc. (the “Biros Case”) is attached hereto as Exhibit “A”.

4, Pursuant to Paragraph 2 of the Order, copies of each document filed of record in
the Biros Case on or after April 27, 2022 are attached hereto as Exhibits “B-1” through “B-21”.

5. The undersigned notes that Exhibit “B-19”, the Order of Court issued June 28,
2022 by the Honorable Harry F. Smail, Jr., Judge of the Westmoreland County Court of
Common Pleas, the trial judge in the Biros Case, was issued in response to the post-petition
appeals filed by J. Allen Roth, Esq. (on behalf of U Lock, Inc.), Shanni Snyder and Mark Mycka
(both pro se), in accordance with the Pennsylvania Rules of Appellate Procedure, and not at the

instigation or request of the undersigned.

6. To the best of the knowledge of the undersigned, the information set forth in

Paragraphs 7, 8 and 9 below is a complete listing of matters required from the undersigned by

Paragraph 3 of the Order.

 
a Pursuant to Paragraph 3 of the Order, the following letters transmitted by the
undersigned to Judge Smail are attached hereto as Exhibits “C-1” through “C-5”. Such
documents were transmitted by email to Judge Smail’s secretary by legal staff of the undersigned
(all at the direction of the undersigned):

(a) Exhibit “C-1”, letter dated May 5, 2022, providing evidence in support of
Plaintiffs Motion for Sanctions against George Snyder, Kash Snyder and J. Allen Roth,
Esq. related to their actions in the Biros Case;

(b) Exhibit “C-2”, letter dated May 11, 2022, providing notice of presentation
of Evidence in Support of Plaintiff's Motion for Sanctions Pursuant to 42 Pa.C.S.A.
§2503(7) and (9) and Pa.R.C.P. Rule 1023.1(d) against George Snyder, Kash Snyder and
J. Allen Roth, Esq. on Friday, May 20, 2022 in the Biros Case;

(c) Exhibit “C-3”, letter dated May 18, 2022 identifying the filing of the
Chapter 7 Petition in the U Lock, Inc. bankruptcy and limiting the Motion for Sanctions
in connection with the actions of J. Allen Roth, Esq.

(d) Exhibit “C-4”, letter dated May 24, 2022, providing legal support for
counsel’s position as to whether the automatic stay applied in connection with U Lock’s
possession of the Route 30 property owned by Christine Biros; and

(e) Exhibit “C-5”, letter dated June 1, 2022 to Judge Smail providing copies

of documents filed on the Federal Bankruptcy Court docket in the U Lock bankruptcy

case.
8. In addition, phone calls were either made or received by legal staff of the

undersigned (all at the direction of the undersigned) as described below.

 
(a) Telephone call to Judge Smail’s support staff on May 10, 2022 regarding
motion scheduling;

(b) —_ Telephone call to Judge Smail’s support staff on May 12, 2022 regarding
subpoena issuance procedure for a motion;

(c) Telephone call to Judge Smail’s support staff on May 19, 2022 regarding
confirmation of motion hearing date and requesting a court reporter; and

(d) Telephone call to Judge Smail’s support staff on May 23, 2022 requesting
clarification of the Court’s request for information made during a motion hearing.

9. Attached for the information of the Court as Exhibits “D-1” through “D-4” are
copies of the Superior Court dockets resulting from the post-petition appeals to Superior Court in
the Biros Case filed by J. Allen Roth, Esq. (on behalf of U Lock, Inc.), Shanni Snyder and Mark
Mycka (both pro se), Although the undersigned is identified as Counsel to Appellee Christine
Biros, neither the undersigned nor Christine Biros has responded to any of these four appeals.

10. Also provided for the information of the Court as Exhibit “E” is a copy of the
Motion for Sanctions Pursuant to 42 Pa.C.S.A. §2503(7) and (9) and Pa.R.C.P. Rule 1023.1(d)
initially presented by the undersigned to the Court of Common Pleas of Westmoreland County
on April 22, 2022 requesting sanctions. Although this Motion was initially served and presented
to the Court prior to April 27, 2022, it is provided for the Court’s background because it relates

to the hearing held on May 20, 2022 in the Court of Common Pleas.

 
Further, Affiant sayeth not.

AF Wal, 2

 

 

jp. — Pt Otto, Esq.

ACKNOWLEDGMENT

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AND NOW, this lo day of February, 2023, before me, the undersigned officer,
a notary public, personally appeared WILLIAM E. OTTO, ESQ.., an individual, known to me
(or satisfactorily proven) to be the person whose name is subscribed to the within instrument, and
acknowledged that he executed the same for the purposes therein contained.

IN WITNESS WHEREOF, [ have hereunto set my hand and official seal.

Tana a Anno

Notary Public
My Commission Expires:

Commonweatth of Pennsylvania - Notary Seal
Deanna L. Jankowski, Notary Public
Beaver County
My commission expires July 13, 2025
Commission number 1266671
~ Member, Pennsytvania Association of Notaries

 

 
